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* 104 * STATE OF OKLAHOMA

FILED IN DISTRICT COURT

CRYSTAL HENLEY, Individually and OKLAHOMA COUNTY
as attorney-in-fact for
CHRISTINA HENLEY, JAN 22 2021
ae RICK WARREN
Plaintiffs, COURT CLERK

112...
VS.

WALGREEN CO. a foreign for profit
business corporation d/b/a
WALGREENS STORE #03645,
WALGREENS PHARMACY, INC., and
JOHN DOE(S) 1-3, individual(s)

and/or companies,

JURY TRIAL DEMANDED

Defendanis. ATTORNEY LIEN CLAIMED

PETITION
COME NOW Plaintiff Crystal Henley, individually and as attorney-in-fact for Christina
Henley (hereafter “Plaintiffs”), by and through the undersigned counsel, and for their Cause of
Action against Defendants, allege and state as follows:
JURISDICTION AND VENUE
I. Plaintiff Crystal Henley (hereafter Crystal”) is a resident and citizen of Oklahoma
County, Oklahoma.
2. Plaintiff Christina Henley (hereafter “Tina”) is a resident and citizen of Oklahoma
County, Oklahoma.
3. Defendant, Walgreen Co. d/b/a Walgreens, is a foreign corporation licensed to and
doing business in the State of Oklahoma, and is alternatively known or doing business as

Walgreens Pharmacy, Inc. and, specifically, as Walgreens Store #03645 (hereafter referred to as

“Walgreens”).

 
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4, John Does 1-3 are assumed and unidentified employees or independent contractors
of Walgreens, licensed by the State of Oklahoma and doing business in Oklahoma County,
Oklahoma.

5. The acts complained of herein occurred in Oklahoma County, Oklahoma making
venue and jurisdiction proper before this honorable Court.

6. It may be necessary to add other parties as further information becomes known.

FACTUAL ALLEGATIONS

7. On or about January 25, 2019, Crystal was prescribed twelve (12)
Hydrocodone/Acetaminophen pills (“the Medication”) by Dr. Christopher Bradshaw after being
examined at the emergency room of St. Anthony’s Hospital.

8. On or about January 26, 2019, Crystal presented her written prescription for the
Medication to Pharmacist John Doe 1 at Walgreens Store #03645 located at 101 N. Midwest City
Blvd. in Midwest City, Okiahoma in order to fill the prescription.

9. On or about January 26, 2019, Pharmacists John Doe 2-3 filled Crystal’s
prescription for the Medication in a bottle with the name of “Christina Henley” instead of “Crystal
Henley” on the label.

10. On or about January 26, 2019, John Doe | gave the Medication to Crystal but failed
to confirm her identity matched the patient listed on the label.

11. On or about January 26, 2019, Crystal returned to her home, took one dose of the
Medication, and stored the bottle in the medicine cabinet.

12. Crystal and Tina are siblings who live together and share a medicine cabinet.

13. Tina’s learning disabilities limited her ability to live alone, but to not otherwise care

for herself until the facts alleged in this Petition occurred.
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14. Crystal has been Tina’s longtime primary caretaker, has claimed Tina on her taxes
as a dependent for such time, and has been her attorney-in-fact since 2015.

15. Tina suffers from anaphylaxis to paracetamol, also known as “anaphylaxis
Tylenol” which is a severe allergy to acetaminophen that can cause anaphylactic shock and/or
seizures.

16. On or about January 30, 2019, Tina complained of a toothache to Crystal, who
suggested Tina take one of Tina’s prescribed ibuprofen pills.

17, On or about January 30, 2019, unbeknownst to Tina and Crystal, Tina ingested the
Medication, mistaking it for her own similarly-looking prescription ibuprofen.

18. The Medication was erroneously prescribed in Tina’s name but actually prescribed
to Crystal by Dr. Christopher Bradshaw.

19. Between January 30, 2019 and February 3, 2019, Tina mistakenly took several
doses of the Medication containing acetaminophen to which Tina was highly allergic.

20. On Sunday, February 3, 2019, Tina suffered a Grand Mal seizure.

21. As of February 3, 2019, Tina had not suffered from a Grand Mal seizure for
approximately twenty (20) years.

22. On Monday, February 4, 2019, and as the attorney-in-fact for Tina, Crystal
contacted Tina’s primary care physician regarding the Grand Mal seizure and was instructed to
search the home for any possible known allergens.

23. On or about February 6, 2019, Crystal discovered that the Medication was in a
bottle that erroneously listed “Christina Henley” as the patient on the label, instead of “Crystal

Henley.”
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24. Walgreens has been filling prescriptions for Tina for many years and has
knowledge of Tina’s allergies, including the deathly allergy to acetaminophen.

25. Asaresult of Walgreens negligence, Tina continued to suffer Grand Mal seizures
which has caused her to lose the ability to care for herself independently as she did for many years
prior to Walgreen’s error with the Medication.

26. Prior to the facts alleged in Plaintiffs’ Petition, Tina was capable of conducting
many tasks alone, such as but not limited to, walking to the store and making purchases, preparing
meals for herself, taking medications as prescribed by her physicians, and otherwise caring for her
basic needs. Since February 3, 2019, Tina can no longer tend to her own basic needs, has severe
short term memory limitations, and exhibits behaviors that are wholly inconsistent and counter to
the person and personality she exhibited prior to these events. She is no longer “Tina.”

27. As aresult of Tina’s new limitations, Crystal must now provide additional medical
services for Tina’s care.

28. As aresult of Tina’s new limitations, Crystal must supervise Tina.

29. As aresult of Tina’s new limitations, Crystal must take time off work to tend to
Tina’s needs.

30. Asaresult of Tina’s new limitations, Crystal must perform more household chores.

31. As a result of Tina’s new limitations, Crystal has lost the comfort and
companionship Tina provided.

CAUSES OF ACTION
COUNT ONE: NEGLIGENCE

32. Plaintiffs incorporate all factual allegations made above.
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33. At all times relevant hereto, Defendants owed a duty to Plaintiffs to exercise a
degree of care, skill, and diligence ordinarily possessed and used by other members of the
pharmaceutical profession in good standing under the same or similar circumstances.

34. Defendants failed to exercise due care under the circumstances and therefore
breached the duty owed to Plaintiffs in the following non-exclusive ways:

a. Failing to exercise reasonable care in the provision of prescription medication,
b. Failing to exercise reasonable care in filling prescription medication;

c. Failing to follow proper procedures in administering a controlled substance in
violation of state and federal law;

d. Representing that the medication dispensed was properly labeled and provided
io the patient whom the medication was prescribed;

e. Failing to review patient records and filling a prescription with an ingredient
known to be an allergen to the patient;

f. Filing a prescription-only, controlled medication to an individual who had not
been prescribed such medication by a licensed physician.

35. Plaintiffs’ injuries were a direct and proximate result of the Defendants’ actions,
omissions, and misrepresentations.

36. But for the Defendants negligence in filling prescription in the wrong name, Tina
would not have taken the Medication and suffered serious medical events.

COUNT TWO: RESPONDEAT SUPERIOR OF WALGREENS

37. Plaintiffs incorporate ali factual allegations made above.

38. Defendants’ negligent acts and omissions, as well as the negligent acts and
omissions of the pharmacists and staff of Walgreens, occurred while they were engaged in the
work assigned to them by Walgreens and occurred within the scope of their employment with

Walgreens.
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39. Walgreens is vicariously liable for negligent acts and omissions of its employees,
Defendants John Doe 1-3 and staff of Walgreens.

40. As a direct and proximate result of the negligence of Walgreens and its actual or
apparent agents or employees, Plaintiffs have suffered serious and permanent injuries and
damages. Tina suffers from severe and permanent injury, mental suffering and emotional distress,
pain and suffering, and pecuniary loss. Crystal suffers from emotional distress, mental suffering,
and pecuniary loss.

COUNT THREE: OKLAHOMA CONSUMER PROTECTION ACT

4]. Plaintiffs incorporate all factual allegations made above.

42. Plaintiffs were involved in a consumer transaction involving the medication
Defendants tendered within the meaning of 15 O.S. § 15-752; 15-753.

43. Defendants, through written representation, misled Plaintiffs and Plaintiffs
detrimentally relied on the written representation that the Medication was safe for the person listed
on the label.

44. Defendants are in violation of Title 15 of the Oklahoma State Statutes in the

following ways:

a. Breaching the express or implied warranty which resulted in Plaintiffs’
economic damages and mental anguish;

b. Engaging in unfair or deceptive trade practices as defined by Title 15.
45. Defendants’ statements and representations constitute a producing cause of

Plaintiffs’ economic damages and mental anguish.

DAMAGES

46. Plaintiffs incorporate all factual allegations made above.
47.

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As a direct and proximate result of the occurrences that form the basis of this

lawsuit, Tina suffered severe and permanent injuries.

48.

As a result of Defendants’ negligent acts, Tina suffered needlessly with anxiety,

pain, and illness resulting in damages more fully set forth below. Tina incurred the following

damages:

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Reasonable medical care and expenses in the past. These expenses were
incurred by Plaintiffs for the necessary care and treatment of the injuries
resulting from the incident complained of herein and such charges are
reasonable and were usual and customary charges for such services in
Oklahoma;

Reasonable and necessary medical care and expenses, which in all reasonable
probability, will be incurred in the future;

Physical pain and suffering in the past;
Mental anguish in the past;

Physical pain and suffering in the future;
Mental anguish in the future;

Physical impairment in the past,

Physical impairment which, in all reasonable probability, will be suffered in the
future;

Loss of earning capacity which will, in all probability, be incurred in the future;
Fear of future disease or condition;
Cost of medical monitoring and prevention in the future; and

Attorneys’ fees.

As aresult of Defendants’ negligent acts, Crystal incurred the following damages:

Reasonable medical care and expenses in the past and present and future paid
for on behalf of Tina;
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b. Loss of Consortium in the past, including damages to the family relationship,
loss of care, comfort, solace, companionship, protection, and services,

c. Loss of Consortium in the future including damages to the family relationship,
loss of care, comfort, solace, companionship, protection, and services;

d. Loss of Household Services in the past and future; and
e. Attorneys’ fees.
PUNITIVE DAMAGES

50. Plaintiffs incorporate all factual allegations made above.

51. Walgreens, acting as a pharmacy that fills prescriptions for medications, knows that
this is an important role that must be undertaken with extreme care and thoroughness, knowing the
risk of serious harm that can foreseeably result from wrongfully filling those prescriptions.
Walgreens knew or did not care that there was a substantial and unnecessary risk that the conduct
complained of herein would cause serious injury to others, such as but not limited to Plaintiffs.

52. The acts and/or omissions of Walgreens which resulted in filling Crystal’s
prescription in the name of Tina were taken or made in reckless disregard of and for the rights of
the Plaintiffs in that those actions were unreasonable under the circumstances and with the
knowledge that there was a high probability that the acts complained of would cause serious harm
to Plaintiffs.

53. Asa direct result of and because of Walgreens’ reckless disregard of Plaintiffs’
rights, Plaintiffs are entitled to an award of punitive damages against Walgreens, in order to punish
Walgreens and to dissuade Walgreens from engaging in such acts or omissions in the future,
Plaintiffs are entitled to punitive damages in an amount to be determined by a jury.

54.  Asaresult of Defendants’ conduct, Plaintiffs, and each of them, have suffered and

will continue to suffer damages in excess of $75,000.00.
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WHEREFORE Plaintiffs pray that this Court enter judgment in favor of Plaintiffs and
against Defendants for all damages caused, as well as interest, costs, attorneys’ fees, and all other

relief this Court deems just and equitable.

Respectfully Submitted,

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